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                            Exhibit 20
                  Declaration of Eden Shemuelian
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                                                              Academic      06/24/24
                                                                       Calendar | UCLA Law Page 2 of 5 Page ID #:397




         Academic Calendar
         m:m
         Law law.ucla.edu/academics/academic-calendar




              • Home Page
              • Academics
              • Academic Calendar
         Our academic year begins in mid-August, when we welcome first-year students for
         orientation and events, and closes with commencement in mid-May, when we hand hard-
         earned diplomas to our newest alumni.


         Fall Semester 2023

                 LLM Students

                      0Short Course Instruction (American Law in a Global Context) - August 9-18
                    0 Semester Course Instruction Begins - August 21

                 First Year MLS Students

                      0Short course Instruction (Introduction to Law) - August 14-18
                    0  Semester Course Instruction Begins - August 21
                 First Year JD Students

                     Orientation - August 10-11
                      0

                   0 Short Course Instruction (Introduction to Legal Analysis) - August 14-18

                   0 Semester Course Instruction Begins - August 21
                 Advanced JD (2L & 3L), MLS, SJD Students

                       Semester Course Instruction Begins - August 21
                 All Students

                      0   Labor Day (no classes meet) - September 4
                      0   Pro Bono Day (no classes meet) - October 24
                      0   Veteran's Day Holiday (no classes meet) - November 10
                      0   Administrative Makeup Friday (Friday classes meet) - November 22
                          (Wednesday)
                      0   Instruction Ends - November 22
                      0   Thanksgiving Holiday - November 23-24
                      0   Review Sessions/Reading Period - November 27-November 30, and December 8
                      0   Final Examinations - December 1-15
                      0   Semester Ends - December 15
                      0   Winter Campus Closure - December 23-January 2

                                         SHEMUELIAN DECLARATION EXHIBIT 20
https://law.ucla.edu/academics/academic-calendar                                                                       1/2
                                                        70
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                                                              Academic      06/24/24
                                                                       Calendar | UCLA Law Page 3 of 5 Page ID #:398




         Academic Calendar
         m:m
         Law law.ucla.edu/academics/academic-calendar




              • Home Page
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         Our academic year begins in mid-August, when we welcome first-year students for
         orientation and events, and closes with commencement in mid-May, when we hand hard-
         earned diplomas to our newest alumni.


         Spring Semester 2024

                 Advanced JD (2L & 3L) LLM, MLS & SJD Students

                      0Short Course Instruction (January courses) - January 3-13 (Includes Saturdays
                       1/6 & 1/13)
                    0 Semester Course Instruction Begins - January 16

                 First Year JD Students

                       Semester Course Instruction Begins - January 16
                 All Students

                      0   Martin Luther King Jr. Holiday (no classes meet) - January 15
                      0   Presidents' Day Holiday (no classes meet) - February 19
                      0   Spring Break - March 25-29
                      0   Cesar Chavez Holiday (administrative offices closed) - March 29
                      0   Administrative Makeup Monday (Monday classes meet) - April 23 (Tuesday)
                      0   Instruction Ends - April 23
                      0   Review Session/Reading Period - April 24-26
                      0   Final Examinations – April 29-May 9
                      0   Semester Ends - May 10
                      0   Commencement - May 10




                                         SHEMUELIAN DECLARATION EXHIBIT 20
https://law.ucla.edu/academics/academic-calendar                                                                       1/1
                                                        71
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                                                              Academic      06/24/24
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         Academic Calendar
         m:m
         Law law.ucla.edu/academics/academic-calendar




              • Home Page
              • Academics
              • Academic Calendar
         Our academic year begins in mid-August, when we welcome first-year students for
         orientation and events, and closes with commencement in mid-May, when we hand hard-
         earned diplomas to our newest alumni.

         Fall Semester 2024
         LLM Students - add to calendar

              • Short Course Instruction (American Law in a Global Context) - August 14-23
              • Semester Course Instruction Begins - August 26
         First Year MLS Students - add to calendar

              • Short course Instruction (Introduction to Law and Fundamentals) - August 3-7
              • Semester Course Instruction Begins - August 26
         First Year JD Students - add to calendar

              • Orientation - August 15-16
              • Short Course Instruction (Introduction to Legal Analysis) - August 19-23
              • Semester Course Instruction Begins - August 26
         Advanced JD (2L & 3L), MLS, SJD Students - add to calendar

                 Semester Course Instruction Begins - August 26

         All Students - add to calendar

              • Labor Day (no classes meet) - September 2
              • Pro Bono Day (no classes meet) - November 5
              • Veteran's Day Holiday (no classes meet) - November 11
              • Administrative Makeup Monday (Monday classes meet) - November 27 (Wednesday)
              • Instruction Ends - November 27
              • Thanksgiving Holiday - November 28-29
              • Review Sessions/Reading Period - December 2-5
              • Final Examinations - December 6-20

                                         SHEMUELIAN DECLARATION EXHIBIT 20
https://law.ucla.edu/academics/academic-calendar                                                                       1/2
                                                        72
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                Semester Ends - December 20
              • Winter Campus Closure – TBD
               •




                                         SHEMUELIAN DECLARATION EXHIBIT 20
https://law.ucla.edu/academics/academic-calendar                                                                       2/2
                                                        73
